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                                     MEMORANDUM ENDORSEMENT

         FTC , et al . v . Quincy Bioscience Holding Co. , Inc ., et al .
                                17 Civ . 00124 (LLS)
            Defendants are granted leave to file their respective
     Motions for Summary Judgment (see Letter Motions , Dkt . Nos . 195 ,
     196) .

                 So Ordered .

     Dated :            New York , New York
                        January 24 , 2022


                                                              LOUIS L .· STANTON
                                                                  U.S . D. J .




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                                                                                                 " ) O'CONNOR

            December 15, 2021                                                                    Michael B. de Leeuw
c::::I
LL.I                                                                                             Direct Phone 212-908-1331
en          VIA ECF                                                                              Direct Fax   646-461-2090
                                                                                                 mdeleeuw@cozen.com
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c::,
c:::I       Hon. Louis L. Stanton, U.S.D.J.
::;.:::::   United States District Court, S.D.N.Y.
LL.I        500 Pearl Street
            New York, NY 10007
c:::,
:a:
LL.I
            Re:      FTC, et al. v. Quincy Bioscience Holding Co., LLC 11 et al., 17-cv-00124-LLS

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c::..__,
            Your Honor:

                     We submit this letter pursuant to Rule 2(A) of Your Honor's Individual Practices on behalf
            of Defendant Mark Underwood, to seek the Court's permission to file a Motion for Summary
            Judgment for lack of personal jurisdiction for the claims asserted by the New York Attorney
            General ("NY AG'').1 It is critical that the Court address personal jurisdiction prior to upcoming
            merits determinations on summary judgment or at trial. Sinochem Int'/. Co. Ltd. v. Malay. Int'/.
            Shipping Corp ., 549 U.S. 422 , 430-31 (2007) ("a federal court generally may not rule on the merits
            of a case without first determining that it has jurisdiction . . . over the parties (personal
            jurisdiction). ") (quoting Steel Co. v. Citizens for Better Environment, 523 U.S. 83 (1998)); Ruhrgas
            AG v. Marathon Oil Co., 526 U.S. 574 , 584 (1999) ("Personal jurisdiction, too , is 'an essential
            element of the jurisdiction of a district ... court,' without which the court is 'powerless to proceed
            to an adjudication ."'); Mones v. Com. Bank of Kuwait, S.A.K., 204 F. App'x 988 , 990 (2d Cir. 2006)
            (declining to rule on merits of case before deciding question of personal jurisdiction).

                     Mr. Underwood previously moved to dismiss all claims for lack of personal jurisdiction ,
            arguing that the FTC Act does not confer nationwide jurisdiction and that the plaintiffs could not
            satisfy New York's long-arm jurisdiction over Mr. Underwood, a non-New York defendant. In its
            July 24 , 2019 Order and Opinion , this Court held that the FTC Act did confer nationwide
            jurisdiction. As to the NYAG's claims , this Court then held that,
                    under the doctrine of pendent personal jurisdiction, where a federal statute
                    authorizes nationwide service of process, and the federal and state claims derive
                    from a common nucleus of operative fact , the district court may assert personal
                    jurisdiction over the parties to the related state law claims even if personal
                    jurisdiction is not otherwise available ." JUE AFL-C/0 Pension Fund v. Herrmann ,
                    9 F.3d 1049, 1056 (2d Cir. 1993) (citation and internal quotation marks omitted).
                    Because the federal and state law claims derive from the same facts concerning
                    the alleged false advertising of Prevagen , there is personal jurisdiction over Mr.
                    Underwood [] with respect to both the FTC Act and New York claims.

            1 Mr. Underwood anticipates joining in the arguments contained in the forthcoming pre-motion letter for summary

            judgment to be filed by the corporate defendants, but in doing so does not waive tr,ie personal jurisdiction challenges
            set forth herein.




                                         3 WTC    17 5 Greenwich Street   55th Floor   New York, NY l 0007
                                         212.509.9400     800 .437.7040    212.509.9492 Fax     cozen.com
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(July 24, 2019 Opinion and Order, at p. 14.) Mr. Underwood 's proposed motion for summary
judgment would challenge, as a legal matter, this finding of "pendent personal jurisdiction" as
relied upon by the Court in allowing the NYAG's claims against a non-New York defendant. 2

          The concept of pendent personal jurisdiction from IUE AFL-CIO considers the propriety of
a court exerting personal jurisdiction over a defendant in a specific scenario : where state law
claims by Plaintiff A3 share a nexus with an "anchor" claim brought by Plaintiff A as to which there
is uncontested personal jurisdiction (in that case, because of the federal claim 's nationwide
service of process provision). In other words, IUE AFL-CIO applies only where both the "anchor"
claim and the additional claims for which personal jurisdiction is sought are brought by the same
plaintiff. This limitation of JUE AFL-CIO Pension Fund has been recognized by federal courts in
this context. See, e.g. , Canaday v. Anthem Cos., Inc. , 9 F.4th 392 , 401 (6 th Cir. 2021)
(distinguishing a form of pendent claim personal jurisdiction for which IUE AFL-CIO lends support
from the doctrine of "[p]endant party personal jurisdiction [which] recognizes that a court's
exercise of personal jurisdiction over one defendant as to a particular claim by one plaintiff allows
it to exercise personal jurisdiction with respect to similar claims brought by other plaintiffs"); In re
Bard IVC, 2016 WL 6393596 , at n. 4 (D. Ariz. Oct. 27 , 2016) (noting that "[s]ome cases have
recognized a form of pendent personal jurisdiction with respect to multiple claims of a single
plaintiff, " and citing to IUE AFL-CIO , but concluding , "[e]ven if this doctrine is viable , it applies to
claims asserted by a single plaintiff, not claims asserted by different plaintiffs. "); In re : FCA US
LLC Monostable Elec. Gearshift Litig., 2017 WL 11552971, at *4 (E.D. Mich. Apr. 19, 2017) (citing
IUE AFL-CIO for the proposition that "The courts of appeals that accept the notion of 'pendent
personal jurisdiction' ... reasoned that because the defendant was summoned properly before
the court, due process was not offended by exercising personal jurisdiction over the defendant
for the purpose of hearing additional , factually intertwined claims brought in the same case, by
the same plaintiffs, without regard to whether personal jurisdiction separately could be obtained
over those claims alone") (emphasis in original) .

         But that is not the situation here where the "anchor" claim that would serve as the predicate
for personal jurisdiction over Mr. Underwood is one brought by the FTC, but it is the NYAG-a
different plaintiff-that is seeing to use the "anchor" claim to gain personal jurisdiction over Mr.
Underwood. Allowing a plaintiff to piggyback on the personal jurisdiction of a claim brought by a
different plaintiff, even if the claims of the two plaintiffs overlap , is an impermissibly broad
extension of the doctrine of pendent personal jurisdiction that has been routinely rejected by
federal courts nationwide.4 See, e.g., Story v. Heartland Payment Sys. , LLC, 461 F. Supp. 3d
1216, 1230 (M .D. Fla. 2020) (noting plaintiffs propose "expand[ing] the doctrine [of pendent
personal jurisdiction] to include additional pendent party plaintiffs , not just pendent claims ," and
noting that there was no 11 th Circuit authority "adopting this theory"); Wiggins v. Bank of Am.,
N.A. , 488 F. Supp. 3d 611 , 624 (S.D. Ohio 2020) ("pendent personal jurisdiction is most frequently
applied when the Court has personal jurisdiction over 'some, but not all , of a plaintiff's related
claims," and noting "[t]his court has previously declined to exercise its discretion to apply pendent
jurisdiction when multiple plaintiffs-not a single plaintiff-assert separate claims against the
same defendants [because] this application of pendent jurisdiction raised serious Due Process
Clause concerns" and "the Court cannot offend Due Process Clause in order to create efficiency")

2 Mr. Underwood continues to disagree with , and wishes to preserve for appeal , the Court's finding that the FTC Act
confers nationwide jurisdiction and , for purposes of this pre-motion letter only and without waiver of the ability to
challenge that finding , accepts the premise that there is jurisdiction as to Mr. Underwood for the FTC Act claims.
3 In JUE AFL-C/0, it was a set of plaintiffs that made the same federal and additional state claims.
4 These ru lings are consistent with the caution that "[a] plaintiff must establish the court's jurisd iction with respect to

each claim asserted ." Sunward Elecs., Inc. v. McDonald, 362 F.3d 17, 24 (2d Ci r. 2004 ).
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(emphasis in original); Vallarta v. United Airlines, Inc. , 497 F. Supp. 3d 790, 802 (N.D . Cal. 2020)
(declining "novel application" of pendent personal jurisdiction doctrine); FCA US LLC Monostable
Elec. Gearshift Litig., 2017 WL 11552971 , at *5 (rejecting pendent personal jurisdiction to allow
related claims by additional plaintiffs, noting the absence of "any court of appeals decision in any
circuit that has extended the concept of pendent personal jurisdiction with such sweeping effect
that can be squared with the constraints of the Due Process Clause ."); Tulsa Cancer Institute,
PLLC v. Genentech Inc., 2016 WL 141859, at *4 (N.D. Okla. Jan. 12, 2016) (reversing prior
holding permitting pendent personal jurisdiction over additional plaintiffs' claims) .

         In a March 2021 opinion rejecting application of pendent personal jurisdiction to additional
plaintiffs, the district court for the Southern District of Florida stated that "no federal circuit court
of appeals has adopted this pendent-party variety of personal jurisdiction. " Carter v. Ford Motor
Co., 2021 WL 1165248, at *9 (S.D. Fla. Mar. 26, 2021). And indeed , a few months ago , the only
Court of Appeals to consider this novel application of the pendent personal jurisdiction doctrine
rejected it. Canaday, 9 F.4 th at 401-02 (declining to find personal jurisdiction grounded in
"relatedness" of claims between plaintiffs, and noting that "no federal statute or rule authorizes
pendent claim or pendent party personal jurisdiction" and "[n]o such law exists-not in [] the
supplemental jurisdiction statute , not in the Federal Rules of Civil Procedure"). Indeed , here, the
NYAG not only seeks to piggyback on the jurisdictional predicate created by the claim a different
plaintiff, in doing so, it seeks to expose Mr. Underwood to a category of remedies-financial
damages under the GBL-that are not available under the FTC's "anchor" claim .

         Absent the alleged jurisdictional "hook" of the FTC Act, this Court does not have personal
jurisdiction over Mr. Underwood. There is no record evidence that Mr. Underwood himself
transacted business in New York sufficient to establish specific jurisdiction under CPLR 302(a)(1 ).
Nor can any acts by the corporation be imputed to Mr. Underwood to create specific jurisdiction
under an "agency" theory, as the NYAG cannot satisfy its burden of demonstrating that Mr.
Underwood was the "primary actor'' behind Quincy's transactions in New York. Quincy is not an
alter ego or agent of Mr. Underwood . Quincy has a marketing department with a marketing head;
deposition testimony makes clear that Mr. Underwood was only one of a group of Quincy employees
who approved edits to packaging , reviewed advertising , translated scientific research into marketing
claims, and discussed, interpreted, and acted upon the results of the Madison Memory Study.
There is therefore no dispute as to any material fact as to the exercise of specific personal
jurisdiction over Mr. Underwood. See In re Lyman Good Dietary Supplements Litig., 2018 U.S.
Dist. LEXIS 131688, at *20 (S.D.N .Y. 2018) (finding no specific personal jurisdiction over claims
against president/CEO of vitamin company where plaintiffs alleged only that the individual had
"overall management responsibility" rather than "that they were the primary actors in the specific
transactions giving rise to this action"); Karabu Corp. v. Gitner, 16 F. Supp. 2d 319 (S.D.N.Y.
1998) (Sotomayor, J.) (finding no specific personal jurisdiction over claims against individuals
where complaint did not allege that individual was primary actor in relevant transaction , and noting
that "control [for purposes of primary actor analysis] cannot be shown based merely upon a
defendant's title or position within the corporation"). Allowing Mr. Underwood to be sued in New
York based upon alleged corporate activity in New York that Mr. Underwood neither directed nor
was the primary actor for would offend the Due Process clause of the Constitution . See Walden
v. Fiore, 134 S. Ct. 1115, 1122-23 (2014) (holding that "[a] forum State's exercise of jurisdiction over
an out-of-state intentional tortfeasor must be based on intentional conduct by the defendant that
creates the necessary contacts with the forum " and that "the relationship must arise out of contacts
that the 'defendant himself creates with the forum State") (emphasis in original) .
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December 15, 2021
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Respectfully submitted,

COZEN O'CONNOR

Isl Michael B. de Leeuw

BY:    MICHAEL B. DE LEEUW
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                                                                                                        Geoffrey W. Castello


           Kelley                                                                                       Kelley Drye & Warren LLP
                                                                                                        3 World Trade Center
                                                                                                        175 Greenwich Street

                Drye                                                                                    New York, NY 10007

                                                                                                        Tel : (973) 503-5922
                                                                                                        Fax : (973) 503-5950
                                                                                                        gcastello@ kelleyd rye .com

           December 21, 2021

           Via ECF
           Hon. Louis L. Stanton, U.S.D.J.
           United States District Court, Southern District of New York
           500 Pearl Street
           New York, NY 10007

                      Re:     FTC, et al. v. Quincy Bioscience Holding Co., Inc., et al.
                              Case No . 1:17-cv-00124-LLS

           Your Honor:

           We represent defendants Quincy Bioscience Holding Company, Inc. , Quincy Bioscience, LLC ,
           Prevagen, Inc. and Quincy Bioscience Manufacturing, LLC (collectively, "Quincy") and respectfull y
~          request a pre-motion conference with respect to a motion for summary judgment pursuant to Federal
~          Rule of Civil Procedure 56. The anticipated bases for Quincy' s motion are set forth below.
~
C'!'.:"!   I.         The Challenged Claims are Clearly Substantiated Structure/Function Claims
c:,        After over six years of investigation and litigation, the record shows that there is no material disputed
t.:::i     fact that Quincy has met the legal standard required to substantiate its claims. Summary judgment is
--=--
C'._       therefore appropriate.
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c:,        There is no dispute that Prevagen is a dietary supplement pursuant to the Dietary Supplement Health &
           Education Act of 1994 ("DSHEA") (Complaint ,r 19), which permits "structure/function" claims w ithout
:a:
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           prior approval from the FDA. See 21 U.S.C. § 321(g)(l); 21 U.S.C. § 343(r)(6). Structure/function
           claims "describe[] the role of a nutrient or dietary ingredient intended to affect the structure or function
           in humans," 21 U.S.C. § 343(r)(6), and include claims relating to " mild memory problems associated
           with aging." 65 Fed. Reg. 1000, 1000-01 (Jan. 6, 2000). As long as a dietary supplement is not marketed
           as a drug-i.e., does " not claim to diagnose, mitigate, treat, cure, or prevent a specific disease or class
           of disease[,] " it is not regulated like a drug. 21 U.S .C. § 343(r)(6). Prevagen is not marketed as a drug.

           In response to DSHEA, the FTC released guidance for supplement manufacturers: "Dietary
           Supplements: An Advertising Guide For Industry" ("Guidance"), Exhibit A. The Guidance was
           designed to advise industry that the substantiation standard for marketing claims for dietary supplements
           is "competent and reliable scientific evidence," defined as "tests, analyses, research, studies, or other
           evidence based on the expertise of professionals in the relevant area." Guidance at 3, 9. The Guidance
           makes clear that the FTC ' s standard is "flexible" w ith " no fixed formula for the number or type of studies
           required. " Id. at 8-9 . Randomized, controlled trials are not required . Indeed, other types of scientific
           evidence can substantiate dietary supplement marketing claims, including (among others) : animal
           studies, in vitro studies, epidemiological evidence, and other human studies . Id. at 10. In contrast, the
           FDA does require randomized clinical trials for new drug applications. 21 C.F.R. § 314.126 (2002).
           NEW YORK    WASHINGTON, DC   CH ICAGO   HOUSTON   LOS ANGELES   SAN DIEGO   PARSIPPANY   STAMFORD    Affil iate Office: MUMBAI
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Plaintiffs do not claim that Prevagen was marketed as a drug, but nevertheless attempt to hold Quincy
to that higher drug substantiation standard-a standard that the Guidance makes clear is not required for
dietary supplements. This novel approach would turn the dietary supplement industry on its head and
should be rejected. See Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 158-59 (2012) ("It is
one thing to expect regulated parties to conform their conduct to an agency ' s interpretations once the
agency announces them ; it is quite another to require regulated parties to divine the agency' s
interpretations in advance or else be held liable when the agency announces its interpretations for the
first time in an enforcement proceeding and demands deference.").
Plaintiffs allege that that following claims for Prevagen are false and misleading: ( 1) improves memory;
(2) improves memory within 90 days; (3) reduces memory problems associated with aging; (4) provides
other cognitive benefits, including but not limited to, healthy brain function , a sharper mind, and clearer
thinking; and (5) is clinically shown to have such effects (the "Challenged Claims"). (Complaint ,r,r 36-
45.) These claims, which have been discontinued or substantially qualified as of the summer of 2020,
are textbook structure/function claims, and are substantiated in accordance with the FTC's own standard.
The undisputed record shows that Quincy engaged a university research laboratory to conduct animal
and in vitro studies, which showed the beneficial efficacy and safety of apoaequorin (the active
ingredient in Prevagen). Quincy then moved to open label human studies that further substantiated the
Challenged Claims. Following this positive evidence, Quincy conducted the Madison Memory Study-
a double-blind, placebo controlled human clinical trial-that demonstrated that Prevagen improved
memory and other cognitive function in its intended audience, namely healthy, older adults. In other
words, even though a randomized clinical trial is not required, Quincy conducted one and its results
substantiate the Challenged Claims. This Court has already determined based on Plaintiffs ' admissions
in the Complaint that "the complaint fails to show that reliance upon the subgroup data 'is likely to
mislead consumers acting reasonably under the circumstances. "' ECF No. 45 at 11-12. Despite
extensive discovery, nothing has changed since the Court arrived at that determination .
Five of Defendants ' expert witnesses (in the relevant fields of internal medicine, nutrition, dietary
supplement substantiation, epidemiology, and biostatistics) all confirm that the Madison Memory Study,
and the earlier in vitro and animal studies, substantiate Prevagen ' s marketing claims in accordance with
the Guidance . On the other hand, two of Plaintiffs ' purported experts (in biostatistics and cognitive
function) failed to even consider the standard as set forth in the Guidance, and ignored Quincy's animal
and in vitro studies altogether. Instead, they nitpick aspects of the design and execution of the Madison
Memory Study as if it were a clinical drug trial. None of Plaintiffs' experts even tested Prevagen, nor
are they treating physicians, and Plaintiffs have proffered no extrinsic evidence about how consumers
perceived the challenged marketing claims. In short, Plaintiffs merely urge their own judgment, having
failed to adduce any evidence that the Madison Memory Study could possibly mislead consumers.
At most, Plaintiffs' third expert (a chemist) 1 disputes one potential " mechanism of action" for Prevagen
but has not substantively opined on several other plausible " mechanisms of action" described by
Quincy's experts. In any event, the law does not require a known " mechanism of action" for dietary
supplement products (indeed, the FDA does not even require known "mechanisms of action" for drug
approvals). The fact that Quincy has several plausible mechanisms only bolsters the extensive
behavioral , clinical, and other substantiation showing Prevagen's beneficial effects.
There is also a vast body of scientific, epidemiologic and mechanistic evidence that Vitamin D, which
has been an ingredient in Prevagen since 2016, can improve memory and/or cognitive function.


        Quincy ' s papers will make clear that Plaintiffs fail ed to proffer evidence fro m the relevant experts in this matter.



KELLEY DRYE & WARREN LLP                                                                                                 2
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Plaintiffs' experts discount this evidence because they do not believe it satisfies the FDA ' s heightened
substantiation standard for drugs. But again, these criticisms are misplaced and ignore the FTC ' s own
standard as well as the regulatory regime under OSHEA.
Put simply, there can be no dispute that the Challenged Claims are supported by "competent and reliable
scientific evidence" as defined in the Guidance. Other courts have rejected similar attempts by the FTC
to require more substantiation than is required . See , e.g. , U. S. v. Bayer Corp. , 2015 WL 5822595, at *3-
4 (D .N.J . Sept. 24, 2015); Basic Rsch., LLCv. FTC, 2014 WL 12596497, at *10 (D. Utah Nov . 25 , 2014)
("the FTC must do more than present an expert who simply disagrees with the scientific literature upon
which [the defendant] relied. The FTC must present evidence that shows how [defendant' s] evidence
fails to meet" the definition of competent and reliable scientific evidence); FTC v. Garden of Life, Inc.,
516 F. App'x 852,856 (11th Cir. 2013) (rejecting FTC ' s argument that defendant could be liable because
the FTC's expert "disagrees with certain aspects of a study's 'trial design "' because doing so "would
require this Court to read additional requirements" into the competent and reliable scientific evidence
standard). The same result is warranted here.
II.     Plaintiffs Lack the Ability to Pursue Injunctive Relief
The text of Section 13(b) of the FTC Act only contemplates prospective relief. See 15 U.S.C. § 53(b)(l)
(" Whenever the Commission has reason to believe that any person, partnership, or corporation is
violating, or is about to violate, any provision of law .... ") (emphasis added). Courts have understood
that language pursuant to its plain terms, holding that the FTC may not obtain injunctive relief where
alleged violations are not ongoing or imminent. FTC v. Qualcomm Inc., 969 F.3d 974, 1005 (9th Cir.
2020); FTC v. Shire ViroPharma, Inc., 917 F.3d 147, 160 (3d Cir. 2019); FTC v. Facebook, Inc., 2021
WL 2643627, at *19 (D.D.C. June 28, 2021). This past term, the Supreme Court interpreted the language
the same way, noting that the statutory "provision focuses upon relief that is prospective, not
retrospective." AMG Cap. Mgmt., LLCv. FTC, 141 S. Ct. 1341, 1348 (2021).
It is undisputed that the Challenged Claims are no longer being disseminated in the form challenged in
the Complaint. In 2020, Defendants entered into a nationwide class action settlement in Collins v.
Quincy Bioscience, LLC, No. 1: 19-cv-22864 (S .D. Fla.), in which they agreed to add language that
Prevagen's marketing claims are " based on a clinical study of subgroups of cognitively normal or mildly
impaired individuals" i.e. , healthy, older adults. All of Quincy's advertisements now contain this or a
similar language, and therefore, even accepting Plaintiffs ' allegations as true, there can be no dispute
that Quincy is no longer "violating" or "about to violate" the FTC Act.
III.    The NYAG's State Law Claims Fail for Additional Reasons
Because the Challenged Claims comply with OSHEA and the Guidance, the NYAG's GBL claims fail
under the statute's safe harbor provisions (see N .Y. Gen . Bus. Law§§ 349(d), 350-d) and because they
are preempted by OSHEA and the Food, Drug, and Cosmetic Act (" FDCA"). See , e.g. In re PepsiCo,
Inc. Bottled Water Mktg. and Sales Pracs. Litig. , 588 F. Supp. 2d 527, 538 (S.D.N.Y. 2008). In addition,
in light of the Collins class action settlement, the NY AG ' s claims for restitution must be enjoined or
dismissed. See In re Baldwin-United Corp., 770 F.2d 328, 337 (2d Cir. 1985); California v.
IntelliGender, LLC, 771 F.3d 1169, 1172 (9th Cir. 2014) ("the appropriate State officials were notified,
but they chose not to participate in the settlement approval process. The State cannot now obtain a
duplicate recovery in the form of restitution on behalf of those individuals who are bound by the
bargained for restitution in the CAFA class settlement."); FTC v. AMREP Corp. , 705 F. Supp. 119, 123
(S.D.N.Y. 1988).




KELLEY DRYE & WARREN LLP                                                                             3
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                                          Respectfully submitted,

                                          Isl Geoffrey W. Castello

                                          Geoffrey W. Castello
                                          Kelley Drye & Warren LLP
                                          3 World Trade Center
                                          175 Greenwich Street
                                          New York, NJ 10007
                                          Tel:    (212) 808-7800
                                          Fax: (212) 808-7897
                                          gcastello@kelleydrye.com

                                          Counsel for Defendants
                                          Quincy Bioscience Holding Company, Inc. , Quincy
                                          Bioscience, LLC, Prevagen, Inc. and Quincy Bioscience
                                          Manufacturing, LLC




cc:   All Counsel of Record (via Email)




KELLEY DRYE & WARREN LLP                                                                   4
